                                                                     20-MJ-00107-JTM (JAM)

                                          AFFIDAVIT

1.      Comes now, Philip Sipple, a Detective of the Kansas City, Missouri Police Department

(KCMOPD), Drug Enforcement Unit Administrative Squad, and being duly sworn states: I am a

Detective with the KCMOPD and have been so employed for approximately 19 years. I have been

assigned to the Drug Enforcement Unit (DEU) for one year. I have previously served as a

Detective in the Domestic Violence Unit, Traffic Investigations Section, and Street Narcotics

Undercover Squad for a total of approximately four and a half years. I was assigned as a patrol

officer for approximately thirteen and a half years. During my tenure in the DEU I have been

involved in numerous investigations of individuals for importing and distributing controlled

substances, and possessing and trafficking illegal firearms . I have communicated extensively with

other state and federal law enforcement personnel who specialize in narcotics and firearms

investigations. I have extensive experience interviewing defendants, participating witnesses,

informants, and other persons with personal experience and knowledge of illegal drug and illegal

firearms trafficking.

2.     This affidavit contains information necessary to support probable cause for this application.

It is not intended to include every fact or matter observed by me or known by law enforcement.

The information provided is based on my personal knowledge and observation during the course

of this investigation, information conveyed to me by other law enforcement officials, and my

review ofrecords, documents, and other physical evidence obtained during the investigation.

3.     On August 26, 2020, at approximately 3:00 p.m., Officer      auyok, of the KCMOPD Shoal

Creek Patrol Division Impact Squad was operating in an undercover capacity and conducting

surveillance related to suspected on-going illegal drug trafficking activity at 4417   orth Jackson




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Avenue, Kansas City, Missouri.       Officer Nauyok observed a white male who matched the

description of Brian J. PONTALI ON (W/M, DOB: 1/22/2001 ), who investigators are familiar with

through a separate investigation, enter a white colored Chevrolet Tahoe (SUV). Det Massey, Det

Fenwick, and Det Florido of KCMOPD DEU positioned themselves to assist Officer Nauyok with

surveillance of the Chevrolet Tahoe for the purpose of gathering intelligence related to the

possibility of illegal drug trafficking acitivity at both the   orth Jackson residence, and by the

occupants of the Tahoe.

4.     Det Massey maintained intermittent visual surveillance of the Chevrolet Tahoe as it

traveled from 4417 North Jackson Avenue to West 13th Street and Wyandotte Street in downtown

Kansas City, Missouri. During his surveillance of the vehicle, Det. Massey observed the Chevrolet

Tahoe drive in an erratic manner, often at high speeds in excess of the posted speed limit. The

driver of the Chevrolet Tahoe, later identified as PONTALION, committed numerous traffic

violations to include speeding, illegal turns, driving the wrong way down a one way street and

weaving in and out of other motorists during rush hour traffic. PONTALI ON' s driving caused at

least one other motorist to take evasive braking action.

5.     When the Chevrolet Tahoe came to a stop at West 13th Street and Wyandotte Avenue,

marked patrol cars attempted to conduct a pedestrian check of PONTALIO        as he was exiting the

driver's seat of the Chevrolet Tahoe. Officer Caudle observed PONTALI ON to have a blue bag

on his shoulder. Upon observing the officers, hearing them call out his name, and informing him

that he was under arrest, PONTALI ON immediately got back into the driver's seat of the Chevrolet

Tahoe. PO TALIO        threw the blue bag into the Chevrolet Tahoe and fled in the vehicle, striking

a police vehicle occupied by Officers Brulja and Rains, who were attempting to assist in the stop.

PONTALI ON fled at a high rate of speed south bound, disregarding all traffic control signals and




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signs, as well as other motor vehicle and pedestrian traffic. PONT ALI ON came to a stop after

losing control of the vehicle, leaving the roadway, and striking a light pole with the at West 16th

Street and Baltimore Avenue.

6.     After colliding with the light pole, officers observed PONTALIO     attempting to climb out

of the driver's side door window with the blue bag in his hand.            The officers observed

PONTALI ON throw the blue bag into the back seat of the Chevrolet Tahoe. PONTALI ON was

taken into custody. An inventory of the Chevrolet Tahoe prior to towing revealed the blue bag in

the back seat. Upon opening the blue bag, Officer Caudle observed what he believed to be

methamphetamine, marijuana, LSD tabs, an assortment of unknown pills, a black digital scale, and

a flip phone.

7.     Officer Caudle recovered the blue bag. A further search showed the contents of the bag to

include:

            a. A clear baggie containing a crystal like substance weighing approximately 175.87
               grams that would later indicate through the use of a Trunarc testing device as
               containing methamphetamine;

            b. A clear baggie containing a crystal like substance weighing approximately 119.01
               grams that would later indicate through the use of a Trunarc testing device as
               containing methamphetarnine;

            c. A clear baggie containing a white powdery substance weighing approximately 3 .18
               grams that would later indicate through the use of a Trunarc testing device as
               containing MDMA (more commonly known as ecstasy);

            d. A clear baggie containing a white powdery substance weighing approximately 0.85
               grams that would later indicate through the use of a Trunarc testing device as
               containing ketamine;

            e. A clear baggie containing a brown powdery substance weighing approximately
               1.46 grams that would later indicate through the use of a Trunarc testing device as
               containing opium alkaloids;
            f. A clear baggie containing a crystal like substance weighing approximately 1.9
               grams that would later indicate through the use of a Trunarc testing device as
               containing methamphetamine;



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            g. 10 round purple pills marked "030" and "ABG" that were identified as morphine
               sulfate through the use of Drugs.com;

            h. Clear baggies containing a green leafy substance weighing approximately 71.96
               grams;

            1.   An unknown amount of what appear to be doses of LSD on cardboard tabs;

            J.   A black digital scale with residue; and,

            k. A Verizon ZTE, black, flip cellular phone.

8.      Once PO TALIO         was taken into custody and helped to his feet, Officer Tipton observed

a black wallet on the ground where PO TALION was taken into custody. Officer Tipton could

see a large amount of cash contained in the wallet, along with a torn piece of paper with numbers

that, in my training and experience is consistent with a ledger for currency. Officer Tipton and

Officer Madera conducted a count of the U.S. currency located in the wallet and found it to contain

$3,125. Officer Madera recovered the U.S. currency.

9.      At approximately 5:20 p.m., I escorted PO TALIO          from the East Patrol Detention Unit

to an interview room. I advised PO TALIO         of his rights by reading the Miranda Waiver aloud.

PONTALION advised that he understood his rights, signed the Miranda Waiver form, and agreed

to talk to me.

10.     I asked PONTALI ON why I would be talking to him, and he responded by saying the

police tried to pull him over. PO TALIO        said he got scared and fled. PO TALION explained

that he was the only person in the vehicle when the police attempted to stop him. PONTALI ON

advised that the police pulled up to his vehicle and called out his name, which scared him, and he

jumped back into the vehicle. PONTALIO         explained that as he fled he did strike a police vehicle,

however he was not attempting to hurt anyone or put anyone in danger.                  When I asked

PONTALION if he ran any stop signs, he stated, "probably". When I asked PONTALION if he



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ran any red lights, he advised that was trying to drive "normally" and did not exceed 40 miles per

hour. When I asked PONTALIO         if he had anything with him when he exited the vehicle at West

13th Street and Wyandotte Avenue, he advised that he had his cell phone. When asked about the

"hip pouch," PONTALIO        finally admitted that he had the "hip pouch" hanging from his neck.

When I asked what the contents of the "hip pouch" were, PONTALI ON admitted he knew there

was Marijuana, mushrooms, and "dope" inside. When I asked what he meant by "dope," he

mouthed the word "meth." When I asked PO TALIO            how much meth was contained inside the

"hip pouch," he advised approximately 1 ounce. PO TALION refused to say who he received

the meth from, and advised that he did not pay for it. PO TALION then requested an attorney.

The interview ended and PONTALION was escorted back to the East Patrol Detention Unit.

11.    Based upon the aforementioned information and investigation, the affiant believes that

there is probable cause to believe that Brian J. Pontalion violated the following federal laws:

           a. Title 21, United States Code, Section 841(a)(l), (b)(l)(A) & 846.

       FURTHER AFFIANT SAYETH NAUGHT.


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                                                     Philip sipple,ective
                                                      Kansas City, Missouri Police Department

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone
                                           27th
or other reliable electronic means on this __ day of August 2020.



HONORABLE JOHN T. MAUGHMER
United States Magistrate Judge
Western District of Missouri




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